                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

 UNITED STATES OF AMERICA,                       )
                                                 )
                       Plaintiff,                )
                                                 )
 v.                                              )          No. 3:21-MJ-1188
                                                 )
 GUSTAVO CRUZ RAMIREZ and                        )
 OSCAR CRUZ RAMIREZ,                             )
                                                 )
                       Defendant.                )


 UNITED STATES OF AMERICA,                       )
                                                 )
                       Plaintiff,                )
                                                 )
 v.                                              )          No. 3:21-MJ-1192
                                                 )
 JOSE MANUEAL MARCIAS REZA,                      )
                                                 )
                       Defendant.                )


                                MEMORANDUM AND ORDER

        The above-named Defendants came before the Court for a combined Preliminary Hearing,1

 pursuant to Fed. R. Crim. P. 5.1, on January 4, 2022, after being charged in Criminal Complaints,

 each supported by an Affidavit. Defendants Gustavo Cruz Ramirez (“G. Cruz”) and Oscar Cruz

 Ramirez (“O. Cruz”) have been charged in a Criminal Complaint with violating 21 U.S.C. § 846

 and 841(a)(1)—conspiracy to distribute and possess with intent to distribute cocaine [3:21-MJ-



        1
          At the opening of the hearing, the Government stated that upon request of defense counsel
 to have a combined preliminary hearing, the Government disclosed the purportedly sealed
 Criminal Complaints in both above-referenced cases to all three Defendants. However, the Court
 notes that neither Criminal Complaint is or has been under seal.




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 1188, Doc.1]. Defendant Jose Manuel Macias Reza (“Reza”) has been charged in a separate

 Criminal Complaint with violating 21 U.S.C. § 846, 841(a)(1), and 841(b)(1)(A)—conspiracy to

 distribute and possess with intent to distribute 5 kilograms or more of cocaine [3:21-MJ-1192,

 Doc.1]. Defendants were present at the hearing, along with their respective attorneys: Forrest L.

 Wallace representing Defendant O. Cruz; Jonathan A. Moffatt representing Defendant G. Cruz;

 and Mike Whalen representing Defendant Reza. The Government was represented by AUSA

 Cynthia Davidson.

        The Government relied upon the testimony of DEA Task Force Officer Jeremiah S.

 Johnson (“TFO Johnson”). TFO Johnson testified about the subject investigation and to the events

 contained in the respective Affidavits submitted in support of the Criminal Complaints,2 to wit:

 Since October 2020, there has been an investigation into a cocaine drug trafficking organization

 (“DTO”) based in Knox County, Tennessee; the investigation has included multiple court

 authorized interceptions of telephone communications, including those between G. Cruz and O.

 Cruz; on December 20, 2021, Drug Enforcement Administration (“DEA”) received information

 from an interception on O. Cruz’s telephone of a conversation between O. Cruz and G. Cruze that

 a shipment of suspected cocaine would be arriving later that evening and that O. Cruz had given a

 third party the address of “the shop” located at 210 East Inskip Drive, Knoxville, Tennessee, a

 location known through the investigation to be under the control of O. Cruz and G. Cruz;3 the

 intercepted communication also included a discussion of possible prices of suspected cocaine as

 well as a discussion that G. Cruz would leave them “at the casilla” for O. Cruz to retrieve the next



        2
          TFO Johnson is the affiant in both affidavits, and each affidavit is attached to the
 respective complaint [Doc.1].
        3
          TFO Johnson identified “the shop” as a rectangular building located in the north area of
 the depicted 210 East Inskip address on a Google Earth map presented by Attorney Whalen.

                                                  2

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 morning, which TFO Johnson stated was a reference to the DTO stash house at 5015 Schubert

 Road; at approximately 9:00 p.m., agents established surveillance at 210 East Inskip; after

 midnight, a tractor trailer backed into the south parking lot of 210 East Inskip; a few minutes later,

 agents observed G. Cruz enter the north parking lot area of 210 East Inskip, exit his vehicle, briefly

 enter the shop, and then exit the shop and drive to the south parking lot, stopping near the tractor

 trailer; approximately one minute later, G. Cruz departed the parking lot and traveled to 5015

 Schubert Road where he briefly entered the location and then exited in his vehicle; shortly after

 the tractor trailer exited the 210 East Inskip parking lot, a traffic stop was conducted; the driver

 was identified as Defendant Reza, and during a search of the tractor trailer, a duffle bag containing

 $200,000 to $300,000 along with Defendant Reza’s identification card was discovered; during an

 interview, Defendant Reza confirmed that he received the money from G. Cruz and that he had

 been directed by an individual known as “El Negro” to bring two bags of cocaine from El Paso,

 Texas, and deliver it to 210 East Inskip; search warrants executed on 210 East Inskip and 5015

 Schubert Road resulted in the seizure of 11 kilograms of heroin, 49 kilograms of cocaine, 30

 kilograms of marijuana, and $750,000 in U.S. currency.4

        Counsel were given an opportunity to argue for and against probable cause, and after

 having heard and considered the testimony during the preliminary hearing as well as the sworn

 affidavits of TFO Johnson, the Court finds that probable cause exists to demonstrate that the

 Defendants G. Cruz and O. Cruz have committed violations of 21 U.S.C. § 846 and 841(a)(1)—

 conspiracy to distribute and possess with intent to distribute cocaine and that Defendant Reza has

 committed violations of 21 U.S.C. § 846, 841(a)(1), and 841(b)(1)(A)—conspiracy to distribute


        4
          TFO Johnson stated during cross examination that the 11 kilograms of heroin were
 recovered from 5015 Schubert Road and that of the 49 kilograms of cocaine and 30 kilograms of
 marijuana, the majority was recovered from 5015 Schubert Road, with small quantities recovered
 from 210 East Inskip.

                                                   3

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 and possess with intent to distribute 5 kilograms or more of cocaine. Accordingly, Defendants

 will be held to answer in District Court.

        IT IS SO ORDERED.
                                                     ENTER:




                                              4

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